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                            UNITED STATES DISTRICT COURT     SUPPRESSED
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION                FILED
UNITED STATES OF AMERICA,                         )                                   ·MAY 2 3 2019
                                                  )
               Plaintiff,                         )                                 U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT OF MO
                                                  )                                       ST.LOUIS
v.                                                ) No.
                                                  )   /
CORELL RICHARDSON,
                                                  ~·      4:19CR402 RWS/SPM
               Defendant.                         )

                                           INDICTMENT

                                           COUNT ONE

       The Grand Jury charges that:

       Beginning on or about January 30, 2019, and through May 15, 2019, in St. Louis County,
                                                                            '

within the Eastern District of Missouri,

                                    CORELL RICHARDSON,

the Defendant herein, did knowingly possess one or more machineguns, that is, one or more

conversion devises designed and intended solely and exclusively for use in converting a weapon

into a machinegun.

       In violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).


                                                             A TRUE BILL


                                                             FOREPERSON
JEFFREY B. JENSEN
United States Attorney



JASON S. DUNKEL, #65886MO
AssistantUnited States Attorney
